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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                            WACO DIVISION

LED WAFER SOLUTIONS, LLC              §
                                      §
      Plaintiff,                      §
                                      §
v.                                    § CAUSE No. 6:21-CV-00292-ADA
                                      §
SAMSUNG ELECTRONICS CO.,              §
LTD., SAMSUNG ELECTRONICS             §
AMERICA, INC.                         §
                                      §
      Defendants.                     § JURY TRIAL DEMANDED

      PLAINTIFF’S OPPOSITION TO DEFENDANTS SAMSUNG
      ELECTRONICS CO., LTD. AND SAMSUNG ELECTRONICS
            AMERICA, INC.’S MOTION TO TRANSFER
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      Samsung claims litigating in the Western District of Texas is inconvenient, yet
Samsung: 1) waited eight months after the filing of the Complaint to move to transfer;

2) filed a motion asking this Court to dismiss claims on substantive, rather than
procedural or jurisdictional, grounds; 3) did not object when Seoul Semiconductor,
who claims to have the best evidence related to accused infringement, sought to
intervene in this case and stipulated that it would not seek transfer; 4) announced, a
few days before filing the motion, a new $17-billion dollar chip manufacturing plant
in Taylor, Texas in addition to the chip manufacturing plant it has had in Austin
since the 1990s; 5) has previously sought transfer to Austin in at least five other cases
in the last two years; 6) employs more people in Plano, Texas than any other SEA
location; and, 7) currently lists by far the most job openings at its Austin and Plano
facilities compared to any other Samsung facilities in the United States. Samsung’s
argument for transfer is without merit.
      Furthermore, Samsung took the position in its Motion and in venue discovery
that all relevant witnesses and documents are in South Korea or NDCA. Yet, after
Plaintiff’s own investigation, it turns out Samsung has multiple relevant witnesses
in Texas including two Samsung employees that were previously identified in the
Solas case before this Court as having relevant knowledge related to two of the
accused products at issue in this case. Notably, these witnesses, and others found by
Plaintiff, were not disclosed in the Motion or in responses to any of Plaintiff’s
discovery requests. The difference between this case and the Solas case? In the Solas
case, Samsung indicated it wanted to intervene in a case before this Court whereas
here it seeks to leave this Court. Balancing all the factors and evidence leaves only
one conclusion, litigating in this Court is not inconvenient for Samsung.
                                  I. BACKGROUND
   A. Samsung’s delay in bringing the motion to transfer.
      On March 25, 2021, Plaintiff LED Wafer Solutions, LLC (“LWS”) filed this


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patent infringement case against Defendants Samsung Electronics Co., LTD. (“SEC”)
and Samsung Electronics America, Inc. (“SEA”) (collectively, “Samsung”) asserting

four United States Patents, U.S. Patent No. 8,941,137 (the “’137 Patent”), U.S. Patent
No. 8,952,405 (the “’405 Patent”), U.S. Patent No. 9,502,612 (the “’612 Patent”), and
U.S. Patent No. 9,786,822 (the “’822 Patent”) (collectively, the “Patents-In-Suit”). Pl.’s
Compl, ECF No. 1. LWS’s complaint alleges that certain Samsung products,
identified by specific model numbers, including mobile phones, tablets, televisions,
and LED lighting chips infringe the Patents-In-Suit (“Accused Products”). Id. ¶¶ 21,
58, 97, 132.
      On July 20, 2021, Samsung sought affirmative relief from this Court, filing a
motion to dismiss LWS’s claims for willful and indirect infringement. ECF No. 14.
      On August 13, 2021, LWS served its Preliminary Infringement Contentions
and then amended contentions on November 12, 2021.
      On August 16, 2021, Samsung filed its original answer. ECF No. 19.
      On August 24, 2021, LWS and Samsung filed a Joint Motion for Entry of
Agreed Scheduling Order with a proposed Trial date of February 16, 2023. ECF No.
20.
      On September 7, 2021, Seoul Semiconductor, Co. (“SSC”) filed its Motion to
Intervene. ECF No. 23. In it, SSC explicitly conditioned its intervention on being
available to litigate in this Court and committed that “it will not seek transfer if
permitted to intervene” in order to avoid delaying the litigation. Id. at 12; SSC Reply
Br. at 2, ECF No. 30. Samsung was unopposed to the motion.
      On September 24, the Court entered the parties agreed scheduling order. ECF
No. 27. On October 29, 2021, Samsung and SSC served their Preliminary Invalidity
Contentions.
      On November 16, 2021, Samsung filed a Joint Motion to Extend Scheduling
Order deadlines extending the Markman hearing by two weeks but keeping the


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February 16, 2023 trial date. ECF No. 36. The Court granted the extension on

November 17, 2021. ECF No. 38.

      It wasn’t until November 26, 2021, a few days after announcing it would be

building a new $17 billion facility in this District, that Samsung filed the instant

Motion to Transfer, ECF No. 40, indicating for the first time and contrary to its prior

conduct, that litigating this case in the Western District of Texas is inconvenient.

   B. Samsung’s substantial connection to Texas and specifically, the
      Western District of Texas.
      In its Motion, Samsung contends this District has “No Local Interest” but

“California has a strong interest in adjudicating disputes that involve businesses with

operations in California, like SEA, SSI, SSC,                   Mot. at 14–15. Samsung

took this position despite its extensive presence in this State and this District, and,

notably, just a few days before the formal announcement that is building an $17

billion facility in this District in addition to the large and long-established Austin and

Plano locations. Ex. 3.

      Although Samsung claims its Austin facility “created $4 billion in economic

activity for the greater Central Texas region [and is] part of the fabric of this

community[,]” for the purposes of this litigation, there is no local connection. Ex. 1 at

2 (emphasis added). Samsung’s presence in Texas, and specifically in the locale of this

District, cannot be understated. Samsung opened its Austin facility in 1996 and has

grown to over 3,000 employees in a 2.45 million square foot facility. Ex. 2. Since 1996,

Samsung has invested “approximately $17 billion in . . . the Austin, Texas campus

making it one of the largest direct foreign investments in United States history.” Id.

(emphasis added). Doubling down on its connection with this District, the new $17

billion facility outside of Austin is “the largest foreign direct investment in the state

of Texas, ever,” according to Governor Abbott, Ex. 3 at 2, and Samsung’s “largest

investment in the U.S.” Id. at 5.


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        Samsung has repeatedly stated that this District is its “home”, it is part of the

“fabric of this community,” and it is “committed to Austin.” Ex. 5. And for good reason,

for this new facility alone, Samsung will be receiving $3 billion in incentives because

the local government “pulled out the stops, including waiving 90% of property taxes

for a decade, and 85% for the following 10 years.” Ex. 4 at 4; id. at 2 (noting that,

according to Samsung executive Kinam Kim, these incentives were part of the reason

to build in this District). Samsung’s presence in this District is expected to continue

growing, in particular with regards to LEDs, as it recently announced its partnership

with Tesla, which is headquartered in this District, is expanding as Samsung will be

supplying the LEDs for the headlights used in Tesla’s cars.1 Ex. 6.
        In addition to its extensive and growing presence within this District, Samsung

failed to mention in its Motion that it also has a large office2 in Plano, Texas just a

little over 100 miles from this Court. Curiously, Samsung noted it

                                                                but left out that it has over 1,000

in the Dallas area. Exs. 7, 8, and 10. It turns out, the Plano office is actually SEA’s

“largest employee population in the U.S.” Ex. 9. Samsung has been in Dallas since at

least the 1990s and houses the headquarters for its sales operations. Ex. 8 at 4.3

        But, what is even more concerning is, in the Solas OLED Ltd. v. Apple Inc. case

before this Court, Samsung indicated to Solas its “intention to file a motion to

intervene to become a party . . . .” No. 6:19-CV-00537-ADA, 2020 WL 3440956, at *3


1 In addition to moving its headquarters to this District, the Model Y, just one of the cars Samsung
will be supplying infringing LEDs, is expected to be one of, if not the number one, best selling cars in
2022. https://www.businessinsider.com/elon-musk-tesla-model-3-world-best-selling-car-electric-2021-
4
2 The Plano office appears to be over 300,000 square feet and houses over 1,000 employees. Exs. 7, 8,

and 10.
3 The article mentions Samsung Telecommunications America (“STA”). STA was headquartered in

Dallas and was a sales subsidiary of Samsung. It was which was merged into SEA in 2015.
https://direporter.com/industry-news/marketing/samsung-electronics-america-absorb-samsung-
telecommunications-america; https://www.samsung.com/global/business/networks/insights/press-
release/samsung-telecommunications-america-showcases-commitment-to-4g-wireless/ (noting STA as
“the No. 1 mobile phone provider in the U.S.”).


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(W.D. Tex. June 23, 2020). As noted by the Court and attached to Solas’s response to
Apple’s motion to transfer, Samsung identified in its initial disclosures seven

witnesses in Asia and two witnesses with relevant knowledge as to the accused
products located in the Dallas area. Id.; Solas Response at 5, Ex. 11. The two
witnesses Samsung disclosed were Sean Diaz, Director of Corporate Accounting, and
Joe Repice, Director of Smartphone Product Strategy,4 claiming they had knowledge
regarding “U.S. sales and finance of the accused Samsung products” (Samsung
Galaxy S8 and S9 phones) which also happen to be Accused Products in this case
among others. Compare Ex. 15 with Pl.’s Compl. ¶¶ 21, 58, ECF No. 1. Neither were
identified by either Samsung entity in responding to LWS’s discovery requests asking
for such information.
       Further independent research revealed additional current and former
employees of Samsung in Texas with knowledge of the accused products. For
example, Drew Blackard, Vice President of Mobile Product Management at SEA who
“[c]urrently lead[s] Samsung’s Smartphone Product Management team . . . for the
Galaxy S, Note, Z Series & A Series brands.” Ex. 16. All but the Z Series are accused
products in this case. Blackard has been with Samsung for over 12 years and his
experience includes: 1) leading the product management team, including product
marketing, product experience, product planning, and launch operations for at least
three of the accused products; 2) overseeing profits and losses, forecasting, promotion
planning, and revenue and market share goals; and 3) developing market strategies
for the accused products including pricing. Id. Blackard is located in Dallas. Id.
       Additionally, Lance Bierwirth, located in Dallas, was a Samsung employee for
over six years. Ex. 17. As the Head of Product Strategy and Planning, he was



4 Samsung Disclosures at 6–7, Ex. 12; Ex. 13 (LinkedIn profiles attached to Solas’s response).
Currently, Director of Corporate Accounting and Director of Smartphone Product Strategy,
respectively. Ex. 14 (current LinkedIn profiles).


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responsible for bringing at least one of the accused products to market, Galaxy Tab

S7+, which included analyzing the market and the realized revenue. Id.

                         II. ARGUMENT & AUTHORITIES

      “A plaintiff’s selection of venue is entitled to deference.” eRoad Ltd. v.

PerDiemCo LLC, 2019 WL 10303654, at *4 (W.D. Tex. Sep. 19, 2019). Specifically,

“when the transferee venue is not clearly more convenient than the venue chosen by

the plaintiff, the plaintiff’s choice should be respected.” In re Volkswagen of Am., Inc.,

545 F.3d 304, 315 (5th Cir. 2008). While a court “may ‘consider undisputed facts
outside the pleadings, . . . it must draw all reasonable inferences and resolve all

factual conflicts in favor of the non-moving party.’” SynKloud Techs., LLC v. Dropbox,

Inc., 2020 WL 2494574, at *2 (W.D. Tex. May 14, 2020) (citation omitted). Here, four

factors weigh against transfer, two slightly favor transfer, and the rest are neutral.

Accordingly, weighed in the balance, the factors do not favor transfer.

A. The private interest factors weigh heavily against transfer.

   1. The relative ease of access to sources of proof weighs against transfer.
      Samsung argues NDCA is more convenient for this factor because 1)

Samsung’s documents are in South Korea; 2) SSI, who supplies the stand-along LEDs

accused

                                                  is headquartered in NDCA though it

also has employees in WDTX; 3) Samsung provided a long list of current and former

Lumileds employees that may have knowledge of prior-art products identified in

Samsung’s invalidity contentions; and 4) a small portion of the accused products are

manufactured by suppliers             , and Samsung specifically identifies



without any analysis or evidence in support. Mot. at 9 (emphasis added).

      Despite what Samsung argues in its motion, “witnesses are not sources of proof




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to be analyzed under this factor.” Kuster v. W. Digital Techs., 2021 WL 466147, at *2

(W.D. Tex. Feb. 9, 2021). Only documents and physical evidence are considered. Id.

at *3. Instead, Samsung relies on speculative, nonspecific assertions for possible

relevant prior-art documents from third parties while neglecting to mention its Plano

location which undoubtedly stores relevant sales and financial information.

      Notably, other than the statement that SSI maintains sales-related documents

for a small subset of the accused products, Samsung does not identify any specific

types of documents (physical or electronic) in or around NDCA. Samsung did not issue

discovery to these supposedly highly relevant prior art witnesses or                 to

determine what relevant documents they might have and where they are kept. Such

speculative assertions are insufficient. See Kuster, 2021 WL 466147, at *3 (holding

that nonspecific references to copies of documents that may exist is not sufficient

evidence to support this factor).

      On the other hand, LWS discovered, through its own research, that Samsung’s

Plano location, by Samsung’s own statements, has several witnesses with relevant

knowledge as to the Accused Products despite their nondisclosure in this lawsuit.

Because these witnesses’ relevant knowledge includes, according to Samsung, sales

and financial information for the accused products, it stands to reason that at least

some of those documents for the accused products (multiple Samsung phones, tablets,

and possibly televisions) are stored at or accessible from the Plano location. Exs. 11–

16; see also Ex. 8 (noting it is the location of Samsung’s “headquarters for its sales

operation”); see supra n. 3 (noting STA, the sales subsidiary of Samsung, was merged

into SEA). For example, Diaz and Repice, who Samsung has identified as having

relevant knowledge, as well as Blackard are all located in the Dallas area and likely

have access to relevant documents consistent with their relevant knowledge of the

Accused Products. See supra 5–6.

      That Samsung has relevant documents to this Accused Products in this case is


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confirmed by one of Samsung in one of its multiple prior attempts to transfer other
cases to Austin on convenience grounds. See infra at 13.         In the STC.UNM vs.

Samsung, et al. case, Samsung submitted a declaration from Sean Diaz (the same
person identified in the Solas case as having relevant knowledge of some of the same
accused products as those in this case). Ex. 34; supra at 5; Exs. 12–13. In his
declaration, Diaz confirmed that SEA markets and sells consumer electronics in the
United States, including smartphones and tablets like the ones accused in this case.
Ex. 34 at 2–3. Additionally, he noted that SEA’s offices in “New Jersey, Plano, [Texas]
and Coppell[, Texas] maintain records relating to SEA’s business activities in the
United States” including marketing and sales activities. Id. at 3.
        Plaintiff’s general counsel, Adam Reed, resides in Dallas, Texas. Reed has
access to documents related to Plaintiff, including origination and ownership of the
Patents-in-Suit.
        To the extent the Court does consider the nonspecific, speculative nature of the
sources of proof Samsung identified related to prior art or suppliers, any such
consideration is balanced out by prior art witnesses located in this District. For
instance, Samsung identified multiple publications5 from Osram, “a global leader in
optical solutions”, in its Preliminary Invalidity Contentions. Ex. 18. In 2018, Osram
added a subsidiary, Fluence Bioengineering, Inc., in Austin, Texas which specializes
in design, manufacture, and distribution of LED lighting technologies in the
horticultural industry. Id.; Ex. 19. Osram, individually, and its subsidiary, lists
several job openings in Texas, including within this District. Ex. 20.
        Because of Samsung’s extensive presence in Texas and this District, including
sales and financial information for several accused products (Samsung Galaxy Tab,
S, Note, and A Series brands) rather than just a few stand-alone LEDs, as well as



5   Bates-stamped SAMSUNG-LWS00000205 and SAMSUNG-LWS000001091.


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Plaintiff’s documents in Dallas, this factor weighs slightly against transfer.

   2. The relevant, material non-party witness is located within this Court’s
      subpoena range.
      Samsung’s long list of potential third-party, prior-art witnesses is entitled to

little weight and is outweighed by a third-party witness with relevant knowledge to

this case as this witness worked on developing and launching one of the accused

products.

      Samsung contends this factor “weighs strongly in favor” of transfer because it

provided a list of current and former employees of Philips Lumileds and because
                                                    with no evidence of the

relevance or connection to this case other than

               .

      As to the first, long lists of potential witnesses, in particular third-party, prior-

art witnesses, are given little weight. Solas, 2020 WL 3440956, at *4; East Tex. Boot

Co., LLC v. Nike, Inc., No. 2:16-cv-0290-JRG-RSP, 2017 WL 28559065 at *4 (E.D.

Tex. Feb. 15, 2017). As to Samsung’s second basis, Samsung makes no attempt to

demonstrate why                                             would be relevant witnesses

in this dispute. In re Juniper Networks, Inc., No. 2021-156, 2021 WL 4519889, at *3

(Fed. Cir. Oct. 4, 2021) (holding the district court must “assess the relevance and

materiality of the information the witness[es] may provide.” (quoting In re Genentech,

Inc., 566 F.3d 1338, 1343 (Fed. Cir. 2009)). Samsung’s statement that

                                                                              carries zero

weight. Id.; Solas, 2020 WL 3440956, at *4.

      Furthermore, again relying on its own independent research, Plaintiff

discovered at least one former Samsung employee with relevant, material knowledge

of one of the accused products. Lance Bierwirth spent more than six years at

Samsung, concluding as the Head of Product Strategy & Planning for Mobile



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Computing. Ex. 17. This role included bringing at least one of the accused products
to market, Galaxy Tab S7+, which included analyzing the market for the accused

product and the realized revenue. Id. A witness with actual knowledge of the design,
development, market, and revenue for an accused product far outweighs the
relevance and materiality of a list of prior art witnesses few, if any, of which would
testify at trial. See Solas, 2020 WL 3440956, at *4.
       Witnesses may be subpoenaed (a) “within 100 miles of where the person
resides, is employed, or regularly transacts business in person”; or (b) “within the
state where the person resides, is employed, or regularly transacts business in person,
if the person . . . is commanded to attend a trial and would not incur substantial
expense.” FED. R. CIV. P. 45(c)(1)(A), (B)(ii). And subpoenas requiring traveling of up
to 160 miles are routinely upheld under Rule 45’s provisions.6 Because Bierwirth is
in Dallas and thus, approximately 100 miles, he is within this Court’s subpoena
power but not the subpoena power of the NDCA. Balancing the number of prior-art
witnesses against the more relevant, material witness (Bierwirth) this factor weighs
slightly against transfer.

    3. The identified willing witnesses are predominantly located closer to
       this District than NDCA.
       The most important factor in the transfer analysis—“the convenience of the
witnesses”—also weighs heavily against transfer. In re Genentech, Inc., 566 F.3d at
1342. Samsung argues this factor weighs heavily in favor of transfer because of 1) the
unidentified witnesses for Samsung and SSC are in South Korea and, 2) the single
specifically identified potentially relevant witness for SSI who is located in NDCA.
Mot. at 13–14. Relying on such nonspecific, unverifiable assertions is insufficient.



6 Numerous courts have refused to find “substantial expense” despite evidence that witnesses may be
required to travel up to 160 miles. Eakin v. Rosen, 2015 WL 8757062, at *10 (S.D. Ga. Dec. 11, 2015)
(122 miles); N5 Techs., LLC v. Bank of Am., N.A., 2014 WL 558762, at *4 (E.D. Tex. Feb. 10, 2014)
(160 miles).


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Solas, 2020 WL 3440956, at *4. Even worse, in addition to failing to carry their
burden in the Motion, Samsung also failed to identify the alleged witnesses with

relevant knowledge relied on for this Motion. Ex. 22, SEC’s Ans and Suppl Ans to
ROGs #1. Instead, Samsung echoed the same conclusory statements that all relevant
witnesses are in South Korea and none are in NDCA or WDTX.
      Although Samsung identified one relevant, willing witness, the convenience of
that witness (and all the undisclosed witnesses relied upon for that matter) is
outweighed by the several party witnesses that LWS found on its own.
      First is Drew Blackard, Vice President of Mobile Product Management at SEA
who leads “Samsung’s Smartphone Product Management team” for at least three of
the accused products, the Galaxy S, Note, and A Series brands. Ex. 16. As discussed
in Section II.B., Blackard has been with Samsung for over 12 years and has extensive
experience related to the accused products including product development, marking,
launch, profits, pricing, and market share, among others. Id.
      Second, are the two witnesses, Sean Diaz and Joe Repice, that Samsung itself
has recently disclosed as being witnesses with relevant knowledge regarding “U.S.
sales and finance” for the Samsung Galaxy S8 and S9 phones which are two of the
Accused Products in this case. See supra at 5. Indeed, Diaz is so knowledgeable that
Samsung has even used him recently as a declarant in support of transferring a case
to Austin based on convenience. Ex. 34.
      Finally, Adam Reed, Plaintiff’s general counsel, resides in Dallas and it would
be substantially less convenient to fly to California and drive to the courthouse
instead of a one-and-a-half-hour drive to this Court. Reed has relevant knowledge of
Plaintiff, including origination and ownershiprelated to the Patents-in-Suit.
      Accordingly, because there are four relevant, party witnesses that have been
identified less than a two-hour drive to this Court, this factor weighs against transfer.




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   4. As a result of Samsung’s delay and Samsung’s Co-Defendant, judicial
      economy strongly weighs against transfer.
      Judicial economy and other “practical matters . . . that make a trial easy,

expeditious, and inexpensive” weigh against transfer. In re Genentech, Inc., 566 F.3d
1338, 1342 (Fed. Cir. 2009). Samsung’s delay leads to this factor weighing strongly
against transfer. Ex. 22, Monarch Networking Sols. LLC v. Cisco Sys., Inc., No. 2:20-
CV-00015-JRG, at 20 (E.D. Tex. Jan. 7, 2021).
      Samsung waited more than eight months from the filing of the Complaint
before filing the instant Motion. In that time, this case has substantially progressed
in the following ways: 1) the four parties served preliminary infringement and
invalidity contentions, 2) Samsung filed a motion to dismiss on substantive issues, 3)
all three defendants’ filed answers, 4) the parties agreed to, and the Court entered a
schedule with a trial date in February 2023, 5) the parties litigated SSC’s motion to
intervene, 6) the parties exchanged proposed claim terms and proposed constructions,
and 7) met and conferred on narrowing the list of claim terms. Additionally, the
parties have now fully briefed claim construction (2 briefs each), filed a joint claim
construction statement, and are preparing for the Markman hearing.
      Samsung did not raise the issue of inconvenience or moving the transfer at any
point in that more than eight-month window. Notably, when SSC moved to intervene,
SSC explicitly conditioned its intervention on being available to litigate in this Court
and committed that “it will not seek transfer if permitted to intervene” in order to
avoid delaying the litigation. ECF No. 23. at 12; SSC Reply Br. at 2, ECF No. 2.
Samsung did not oppose the motion or file a response.
      Indeed, it wasn’t until November 26, 2021, a few days after announcing it
would be building a new $17 billion facility in this District, before Samsung filed the
instant Motion. Ex. 3.
      Transferring the case now would “largely obviate all the resources expended”
toward claim construction as well as many other tasks that would be relitigated. Ex.


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22 at 22. The Fifth Circuit has stated “[p]arties seeking a change of venue should act
with ‘reasonable promptness.’” Peteet v. Dow Chem Co., 868 F.2d 1428, 1346 (5th Cir.

1989); see also Utterback, 716 F. App’x at 245 (“Utterback insists the timing of his
motion is immaterial to the 1404(a) analysis. Our caselaw suggests the opposite.”). It
logically flows that the “longer a litigant waits to file a transfer motion, the more
resources [will be unnecessarily expended by] the parties and the Court . . . [and] the
less convenient transfer would be.” Ex. 22 at 22. Furthermore, on multiple occasions,
Samsung has sought transfer to the Austin Division taking the position that this
District is, in fact, convenient. Exs. 23–26, 33–347. Yet now, Samsung argues the
opposite.
       In one of Samsung’s multiple attempts to transfer a case to Austin, it filed
multiple declarations in support. Exs. 33–34. One of the declarations is from Kyeong
Yu a Senior Director at SSI in San Jose who testified that SSI has three offices in
Texas (two in this District), it contracts with warehouse vendors including two in this
District, and SSI employees and documents in Austin, Texas related to the accused
products (which include smartphones and tablets that make up the Accused Products
in this case). Ex. 33. Samsung also submitted a declaration from Sean Diaz of SEA to
support an intra-district convenience transfer to Austin because the accused products
(including smartphones and tablets like what are accused in this case) are
manufactured in Korea or Austin, and that SEA’s relevant employees and documents
would be in Austin or Dallas area, not Waco. Ex. 34 at 2–3.
       Additionally, transferring the Samsung case would result in two cases,
involving the exact same functionality, being litigated in two different forums. The
case against Seoul Semiconductor involves LEDs that are supplied to Samsung and
incorporated into the accused products. ECF No. 23 at 2. Seoul has also represented


7See also 6:21-cv-00398 (this motion is sealed and a redacted copy has not yet been filed with the
Court).


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that it possesses the best evidence related to accused infringement of these products.
Principles of comity among federal courts and judicial efficiency weigh in favor of

resolving the disputes between Samsung and Seoul in the same forum. See In re
Supercell Oy, 806 F. App'x 1000, 1001–02 (Fed. Cir. 2020).
      Accordingly, based on Samsung’s delay and prior conduct arguing this District
is convenient, judicial economy strongly weighs against transfer.

B. The private interest factors weigh against transfer.

   1. The time to trial is shorter, and consistently has been, in this District
      than in the Northern District of California.
      Although “the speed of the transferee district court should not alone outweigh
[the] other factors,” In re Genentech, 566 F.3d at 1347, a faster time to trial means
“more efficient and economical resolutions of the claims at issue.” Ex. 27, BillJCo,
LLC v. Apple Inc., No. 6:21-CV-00528-ADA, at 17 (W.D. Tex. Feb. 1, 2022). The
relevant inquiry under this factor is “[t]he speed with which a case can come to trial
and be resolved.” In re Genentech, 566 F.3d at 1347. If the present court has a faster
average time to trial, transfer is disfavored. EcoFactor, 2021 WL 1535414, at *6. The
average time to trial in NDCA is 30.9 months versus this Court’s 25.5 months. Ex.
28. Furthermore, that this District has a quicker time-to-trial is not a one-time
occurrence making this factor less speculative. Over the last 6 years, in only four of
the quarterly reports (out of a total of 24) did the NDCA average a quicker time to
trial for civil cases. Exs. 29–32. Additionally, transferring the case now, in particular
after Samsung’s delay, would further delay trial. As such, this factor weighs against
transfer.

   2. The local interest factor strongly weighs against transfer.
      Samsung’s extensive and long-standing presence in Texas makes the local
interest factor strongly weigh against transfer.

      Samsung boldly argues this District has “No Local Interest” and contends the


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state of “California has a strong interest in adjudicating disputes that involve

businesses with operations in California, like SEA, SSI, SSC,

          ” Mot. at 15.

      As evidence of Samsung’s strong connection with Texas and this District, it has

1) committed more than $24 billion in past and future real-estate developments to

this District alone (Exs. 2 and 3); 2) maintains a large office in Plano, Texas less than

two hours from this Court (Exs. 7, 8, and 10); 3) employs thousands in this state and

in this District including SEA’s largest presence of any of its locations (Exs. 2 and 7);

4) has received billions in incentives from cities within this District for said real-

estate developments (Ex. 4); and, 5) on multiple occasions, referred to this District as

its “home” and expressed its connection to the District as being part of the “fabric of

the community.” (Exs. 5 and 3). Indeed, job openings on Samsung’s website show that

the Austin facility has the most opening of any Samsung location and more than

double second place. Ex. 21. Second place happens to be Samsung’s Plano facility

which is also more than double the next place. Id. Samsung’s Austin location makes

the chips that are built into the accused products and Samsung’s Plano location has

multiple, material witnesses directly relevant to this litigation. Samsung’s position is

disingenuous at best.

      Samsung cannot hide its extensive presence in this District and state.

Accordingly, this factor strongly weighs against transfer. Ex. 27 at 19.

   3. The remaining factors are neutral.
      The parties agree that the remaining factors, familiarity with governing laws

and conflict of laws, are neutral.

                                 III. CONCLUSION

      Considering all the factors, Samsung has not met its burden to show that

California is the clearly more convenient venue. Indeed, the balance of the factors

weighs against transfer.


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Dated: March 14, 2021                         Respectfully Submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document was

served by email via the Western District of Texas ECF System to all counsel of record

on this the 14th day of March, 2022.


                                                    /s/ Nathan Cox
                                                    Nathan Cox




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